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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

KATELYN WEBB, as guardian and next                                                      PLAINTIFFS
friend of K.S. and D.S.; and JERIMEY LAY
and TABITHA LAY, as guardians and next
friends of R.L. and C.L. on behalf of themselves
and all others similarly situated

v.                                     No. 4:17CV00660 JLH

CHELSEA SMITH; STACY HOUCK;
MISCHA MARTIN; and CINDY GILLESPIE
individually and in their official capacities                                        DEFENDANTS

                                           JUDGMENT

       Pursuant to the Opinion and Order entered separately today, the claims of Katelyn Webb,

as guardian and next friend of K.S. and D.S., and Jerimey and Tabitha Lay, as guardians and next

friends of R.L. and C.L., against Chelsea Smith, Stacy Houck, Mischa Martin, and Cindy Gillespie,

individually and in their official capacities, that arise under the laws and constitution of the United

States are dismissed with prejudice. The Court declines to exercise supplemental jurisdiction over

any state-law claims, so any state-law claims that the plaintiffs have alleged are dismissed without

prejudice.

       IT IS SO ORDERED this 20th day of June, 2018.




                                                       J. LEON HOLMES
                                                       UNITED STATES DISTRICT JUDGE
